     Case: 1:18-cv-05369 Document #: 179 Filed: 07/22/20 Page 1 of 11 PageID #:4279




                    IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

      UBIQUITI NETWORKS, INC.,

                                Plaintiff,


                          v.

                                                          Civil Action No.: 1:18-cv-05369
      CAMBIUM NETWORKS, INC.;
      CAMBIUM NETWORKS, LTD.;                             JURY TRIAL DEMANDED
      BLIP NETWORKS, LLC;
      WINNCOM TECHNOLOGIES, INC.;
      SAKID AHMED; and
      DMITRY MOISEEV

                                Defendants.


                                    JOINT STATUS REPORT


          Plaintiff Ubiquiti Inc. (f/k/a Ubiquiti Networks, Inc.) (“Ubiquiti”), by and through its

undersigned counsel, and Defendants Cambium Networks, Inc., Cambium Networks, Ltd., Blip

Networks, LLC, Winncom Technologies, Inc., Sakid Ahmed, and Dmitry Moiseev

(“Defendants”) (collectively Defendants and Ubiquiti are referred to as the “Parties”), by and

through their undersigned counsel, respectfully submit this Joint Status Report pursuant to the

Court’s order that the Parties submit an updated status report on logistics for the disclosure of the

18 Files. Dkt. 178; see also Dkt. 170.

I.        Source Code Review – Inspections and Location

          Defendants, through their expert Mr. Atif Hashmi, inspected Ubiquiti’s source code in

the Palo Alto, California office of Simpson, Thacher & Bartlett LLP on June 25, 29, and 30, and

July 7.

          Defendants have not scheduled additional days for further review.


                                                 1
  Case: 1:18-cv-05369 Document #: 179 Filed: 07/22/20 Page 2 of 11 PageID #:4280




         In terms of review locations, Ubiquiti continues to investigate a location in Las Vegas,

Nevada, following Defendants renewed request on July 3. As Ubiquiti previously advised the

Court and Defendants, finding a review location in Las Vegas has been difficult, especially given

the COVID-19 circumstances. Nonetheless, Ubiquiti has identified a candidate law firm and is

investigating the logistics presently.

         Defendants continue to investigate the possibility of producing their source code at their

counsel’s office in Washington, D.C., following Ubiquiti’s renewed request during the July 7

meet and confer. Defendants have a meeting scheduled for Friday, July 24 with their counsel’s

office administrators and firm management to seek formal permission and to review and approve

logistics for conducting the review.

II.      Source Code Review – Content of Ubiquiti’s Source Code Production

         The parties’ respective statements as to the status of source code review are set forth

below.

            A.        Ubiquiti’s Statement

         Defendants continue to misrepresent the parties’ disputes regarding Ubiquiti’s production

of source code, most notably by making inaccurate statements and conflating the nature of data

stored in flash memory of M-Series devices and source code stored in a source code repository.

         This section provides additional updates Defendants requested to be removed from the

joint report and addresses the confusion Defendants created.

                 1.      Updates Defendants Requested to be Removed from the Joint Report

         As of Monday, July 20, both parties have submitted their written settlement demand

letters to Magistrate Judge Cummings.




                                                 2
  Case: 1:18-cv-05369 Document #: 179 Filed: 07/22/20 Page 3 of 11 PageID #:4281




       In terms of source code review, Defendants were scheduled to continue their source code

inspection (in Palo Alto) on July 7–10. Mr. Hashmi conducted review for a half day on July 7

and canceled the remaining appointments on July 8–10.

               2.      Defendants’ Inconsistent Approach Regarding Proprietary Data

       Defendants have taken inconsistent positions as to Ubiquiti’s production of the

configuration and calibration data at issue in this case.

       In the initial joint report on source code production, Defendants listed “configuration and

calibration files” as a “File Name” in a table that listed the names of 18 source code modules

above it. Dkt. 173 p. 5.

       Most recently (as of the evening of July 21), Defendants asserted that such data

constitutes the “18th File reference[d] in paragraph 39 of the FAC.” They make that assertion

despite the fact that Defendants previously checked-off the 18 modules—one-by-one—as having

been produced. Dkt. 173 p. 5 (see 18 “Yes”s).

       Notwithstanding that Defendants now attempt to treat data and source code as the same

thing, they stated to this Court in the most recent report that “source code that reads data from a

partition provides no indication of the actual data stored (or read from) that partition.” Dkt. 177

p. 6 (emphasis added).

       In short, Defendants acknowledge that data stored in flash memory on the devices are not

a source code module at the same time they demand that such flash memory contents be

produced as one of the source code modules.

               3.      Production of Source Code and Identification of Data

       Defendants are best situated to explain what data (configuration or calibration data) they

accessed, used, modified, and/or copied (“Used”) in connection with developing, distributing,

and running Elevate—including by reverse-engineering Ubiquiti M-Series devices that stored


                                                  3
    Case: 1:18-cv-05369 Document #: 179 Filed: 07/22/20 Page 4 of 11 PageID #:4282




such information in flash memory partitions (which Ubiquiti specifically identified). Defendants

do not deny that they purchased and reverse-engineered such devices. Thus, that information is

responsive to written discovery Ubiquiti served in February and should be produced as soon as

possible.

         Ubiquiti produced the applicable source code in organized fashion, along with the

information it uses in the ordinary course of business to track authorship, revision history, users,

etc. Defendants began reviewing the source code on June 25.

         Ubiquiti also identified the two small (non-voluminous) portions of flash memory that

store the configuration and calibration data on its M-Series devices.

         Thus, Ubiquiti has complied with its obligations to produce documents/information, as

they are kept in the ordinary course of business, and to identify the basis for its claims. By

contrast, Defendants seek to have Ubiquiti hypothesize about what data Defendants may have

Used, instead of providing the relevant documents and information in their possession, custody,

and control that would clarify the matter. It is an overt attempt to conceal their actions and an

improper refusal to comply with their discovery obligations.

         Defendants’ intransigence notwithstanding, on Monday, July 20, Ubiquiti provided non-

limiting guidance to Defendants—above and beyond what the discovery rules require. Ubiquiti’s

counsel identified specific modules, tools, files, folders, and search terms to locate portions of

the source code that read the calibration and configuration data at issue (which are stored in the

partitions of flash memory on the devices).1



1
    On the evening before the filing of this report, Defendants responded with yet more demands
    for specific information—again without acknowledging whether or not their expert is actually
    able to identify and/or access it. The requests are confusing at least because they continue to
    conflate proprietary data and source code.


                                                  4
  Case: 1:18-cv-05369 Document #: 179 Filed: 07/22/20 Page 5 of 11 PageID #:4283




       Ubiquiti provided such information without waiver of Ubiquiti’s position that it is

Defendants’ duty to produce data they Used and to investigate the factual/expert bases for their

own defenses. Further, Ubiquiti reiterates and reserves all rights pending Defendants’ production

of documents and information demonstrating their own Use of such data.

               4.      Defendants’ Misleading Attorney-Argument

       In their filings (including in these joint reports), Defendants are given to providing

generalized statements, detached from Ubiquiti’s actual production. Such statements provide

little guidance as to the status of Ubiquiti’s production.

       For example, in the most recent joint status report, Defendants made the following

assertions. After the report was filed, on July 20, Ubiquiti provided Defendants the following

explanations and requested that Defendants address them specifically:

   Defendants’ Assertions                             Ubiquiti’s Explanations
  First, source code that       Defendants Used such information when developing Elevate.
  reads data from a partition   Thus, they necessarily had (and have) at least some indication
  provides no indication of     of the actual data. Defendants have not denied this fact.
  the actual data stored (or    Moreover, the source code necessarily indicates the structure of
  read from) that partition.    the data it reads. Indeed, it is highly unlikely that Defendants
  Dkt. 177 p. 6.                (including their partner, Global Logic) wrote source code for
                                Elevate that read data that Defendants had “no indication”
                                about.

                                Further, Defendants’ expert now has the benefit of having
                                reviewed Ubiquiti source code. Thus, that access to source
                                code, along with the knowledge Defendants procured
                                themselves through their reverse engineering and Use, should
                                provide information regarding the data in question. It appears
                                instead that Defendants refuse to acknowledge how they
                                accessed and Used the data—perhaps to withhold information
                                that will support Ubiquiti's claims.

  Indeed, there would be no     This statement is not accurate, and certainly not categorically
  point in storing the data     correct. For example, data stored in source code may be written
  on a partition if the data    to a file for other, independent portions of code to access. The
  being read was already        source code may also include sample files, developer
  stored in the source code.    comments, and format descriptions related to the data.


                                                  5
  Case: 1:18-cv-05369 Document #: 179 Filed: 07/22/20 Page 6 of 11 PageID #:4284




   Defendants’ Assertions                           Ubiquiti’s Explanations
  Id. p. 6-7                  Similarly, the source code may contain default values to be
                              used in case of data corruption or a factory reset.

  After determining that      Defendants acknowledge that the 18 modules have been
  Ubiquiti’s source code      produced, including those portions of source code that read
  production contained        and/or write to data partitions. Further, prior to the filing of the
  substantial deficiencies    status report, Ubiquiti corrected Defendants’ claim that full
  from what Ubiquiti was      versions of AirOS were not produced.
  ordered to produce,
  Defendants canceled the     Defendants only reviewed code for one half-day (Tuesday, July
  remaining inspection days   7). Defendants then serially canceled the remaining days with
  that week in order to       very little notice before each, even after multiple requests from
  attempt to address and      us for earlier cancelation notices:
  resolve these issues with
  Ubiquiti before                  July 8 (canceled on the morning of the scheduled review)
  commencing further
  inspection of an                 July 9 (canceled at 9:29 pm the night before)
  incomplete production.
  Id. p. 5 n.2.                    July 10 (canceled 6:34 pm on the night before)

                              Thus, Defendants either (1) canceled those reviews for another
                              reason than they represented to the Court or (2) purposely
                              withheld notice until the last minute to cause expense and
                              disruption to Ubiquiti and the producing law firm.


       Defendants responded to Ubiquiti’s specific requests by categorically refusing to identify

or clarify any of Defendants’ statements. More particularly, they refused (1) to admit or deny

that Defendants Used the data on Ubiquiti M-Series Devices during development, testing, and

marketing of Elevate, (2) to agree to produce information regarding their Use of data on Ubiquiti

Devices, (3) to state whether the statements in the table above were supported by their review of

specific portions of Ubiquiti’s source code as opposed to its counsel speaking in mere

generalities about hypothetical source code when purportedly providing the Court a status update

on review of the 18 modules, (4) to state whether their expert was in fact able to locate

applicable source code files Ubiquiti has now identified (despite Defendants’ protestations as to

the lack of information produced by Ubiquiti), (5) to provide any basis for their statement that


                                                6
  Case: 1:18-cv-05369 Document #: 179 Filed: 07/22/20 Page 7 of 11 PageID #:4285




“Ubiquiti’s source code production contained substantial deficiencies from what Ubiquiti was

ordered to produce” even after Ubiquiti identified that the purportedly missing full versions of

AirOS code are located in one of two top-level directories in the source code folder of the

production computer, or (6) to explain the inconsistency between their statements to the Court

and their actions in canceling scheduled source code review dates.

               5.      Objection to One-Sided Discovery

       On June 10, Ubiquiti requested that Defendants identify a location near Potomac,

Maryland, at which its expert could inspect Cambium’s source code. In the July 7 meet-and-

confer, Defendants’ counsel advised Ubiquiti’s counsel that they have not been able to identify

such a location in either Potomac or Washington D.C.

       Defendants have been reviewing and digesting Ubiquiti’s source code for almost a month

now. In comparison, Defendants have failed to provide Ubiquiti access to Defendants’ code (or

the configuration and calibration data they Used)—despite Ubiquiti having first requested, on

June 10, access to Defendants’ code in the Maryland, MD Area. Thus, Ubiquiti’s ability to

develop its source code claims is at a standstill. Ubiquiti is instead forced to respond to ever

increasing demands of Defendants to provide analyses that are more appropriately the job of

Defendants and their expert.

       The asymmetric production is especially notable given that Ubiquiti is now making

progress on production in a second remote city, one (Las Vegas) that is a relatively niche legal

market. Defendants have failed to make progress on production, even though Washington, D.C.,

is a much larger legal market and their outside counsel of record has an office of their own there.

       Ubiquiti requests that, to the extent further status reports are required, the Court order that

such status reports be bilateral, to make clear that Defendants are required to comply with their




                                                 7
    Case: 1:18-cv-05369 Document #: 179 Filed: 07/22/20 Page 8 of 11 PageID #:4286




own obligation to produce source code. Ubiquiti will address Defendants’ other discovery

deficiencies in meet-and-confers and move the Court as necessary.

             B.       Defendants’ Statement

         Ubiquiti still refuses to comply with the Court’s Order to produce the 18 Files.

Specifically, Ubiquiti refuses to produce or identify “Ubiquiti’s proprietary compilations of data

contained in its calibration and configuration files of the Firmware,” which Ubiquiti alleges to be

one of the 18 Files identified in Ubiquiti’s First Amended Complaint (“FAC”). Dkt. 65, ¶39.

Regarding production of the entire AirOS code base, Defendants’ expert was unable to locate

that production during his initial inspection and Defendants have been unable to verify Ubiquiti’s

claims to the contrary2 because Defendants have instructed their expert to cease review until

Ubiquiti has identified the allegedly proprietary data it asserts (the “18th File”) rather than

continue review of an incomplete production.3 The parties appear to be fast-approaching, if not

already at, an impasse on Ubiquiti’s production of the 18th File. Accordingly, Defendants once

again request that the Court order at least an additional status report and/or conference to discuss

Ubiquiti’s failure to produce the 18 Files that it has alleged form the basis of its case.

         Ubiquiti has failed to meaningfully respond to Defendants’ repeated pursuit of the 18th

File. Just this morning, Ubiquiti again refused to identify the 18th File and indicated that it is still


2
  Ubiquiti identified two folders on the review computer titled “production” and “registered_works” that allegedly
contain “three full versions of AirOS source code.” Defendants’ remain skeptical of this claim, considering that
name of one of the folders, “registered_works,” appears to correspond to Ubiquiti’s defined term “Registered
Firmware” in the FAC, which referred to just a small portion (17 Files) of its code base—not the “full version”. It is
also not clear why the “full versions” would be spread across two different folders. Nevertheless, Defendants will
reserve formally raising this objection again until their expert returns to confirm Ubiquiti’s claims.
3
  Defendants completed their initial assessment of the materials produced by Ubiquiti on the source code review
computer on July 7 and have confirmed (unsurprisingly) that the vast majority of many of the 18 Files consist nearly
entirely of GPL-licensed open source code authored by third parties despite Ubiquiti’s misrepresentations to the
Court on this very issue. Defendants also determined that Ubiquiti failed to identify the 18th File, and therefore have
not scheduled further review of Ubiquiti’s incomplete production in order to attempt to address and resolve these
issues with Ubiquiti. If Ubiquiti continues to refuse to produce or identify the allegedly proprietary compilations of
data, Defendants will seek dismissal based on the overwhelming amount of GPL-licensed code included in the 17
Files that were produced and Ubiquiti’s refusal to produce or identify the 18th File.


                                                          8
  Case: 1:18-cv-05369 Document #: 179 Filed: 07/22/20 Page 9 of 11 PageID #:4287




“look[ing] into” what its asserted proprietary compilations of data are.          See Ex. A at 1

(Demonstrating Ubiquiti’s inability to confirm whether the data files Ubiquiti identified by email

on July 20—the only data files identified by Ubiquiti to date—contain Ubiquiti’s asserted

compilations of data). But the Court expressly rejected this “wait and see” approach to broad

claims on allegedly proprietary source code and information in dismissing Ubiquiti’s original

complaint. See Dkt. 59 at 9 (“Until Ubiquiti spells out at least the general nature of its allegedly

misused firmware that is not covered by the GPL and other open source software licenses,

Defendants will not have adequate notice of Ubiquiti’s claims.”). Ubiquiti was required to

identify this information in the FAC—over a year later Ubiquiti still refuses to do so despite

repeated orders from the Court.

       In response, Ubiquiti first contends that Defendants must inspect the portions of

Ubiquiti’s source code that read from and write to the configuration and calibration partitions—

portions of code Ubiquiti first identified this week—in order to determine what Ubiquiti

contends is its proprietary information. See Ex. A at 3-4. However, Ubiquiti’s identification of

code that reads from and writes to configuration and calibration partitions is not a substitute

for production of the actual data that is alleged to be proprietary. And Defendants sought

clarity from Ubiquiti as to whether certain data files identified by Ubiquiti constituted its

proprietary configuration information (See, Ex. A at 2)—Ubiquiti was simply not sure. If

Ubiquiti is unsure of what its proprietary data is, Defendants surely will not be able to determine

it. This illustrates the precise problem with Ubiquiti’s proposal. Ubiquiti first must produce the

allegedly proprietary configuration and calibration data as the Court ordered.

       Ubiquiti also contends that it is Defendants’ obligation to identify and produce

“information regarding their use of the configuration and calibration data” and that Ubiquiti’s




                                                 9
  Case: 1:18-cv-05369 Document #: 179 Filed: 07/22/20 Page 10 of 11 PageID #:4288




allegedly proprietary data must be deduced from information in Defendants’ own possession,

custody, and control that was used to create Defendants’ Elevate firmware. See Ex. A at 3. But

Defendants have already produced thousands of development documents, including all

discoverable development information in its possession, custody, or control that is proportionate

to the needs of the case.     Defendants’ production obligations—and particularly obligations

surrounding production of Cambium’s development of Elevate—are fully satisfied given the

needs of the case at this time. Ubiquiti’s position here also improperly attempts to shift its

burden to Defendants to identify Ubiquiti’s own allegedly proprietary data. Defendants have no

way of knowing what Ubiquiti alleges to be proprietary and Ubiquiti has thwarted (See Ex. A at

1) Defendants’ attempts to guess (See Ex A at 2).

        Ubiquiti also alleges that Defendants made “a number of statements to the Court that

were factually inaccurate and/or not based upon any actual substantive review or analysis” in last

week’s status report. See Ex. A at 3-4. These allegations are entirely baseless and are asserted

as a diversion from Ubiquiti’s clear and inexcusable failure to produce or identify its 18 Files.

First Ubiquiti contends that code that reads data provides “at least some indication of the actual

data.” Ex. A at 4 (emphasis in original). But the Court didn’t order “some indication of” the 18

Files—it ordered Ubiquiti to produce and identify them. This is a superfluous distinction that has

nothing to do with the parties’ dispute and does not explain Ubiquiti’s failure to produce the 18th

File.

        Ubiquiti next states that Defendants’ assertion that production of source code that reads

from and writes to partitions is insufficient under the Court’s order is somehow deficient because

“data stored in source code may be written to a file.” Ex. A at 4. Again, this is entirely beside




                                                10
  Case: 1:18-cv-05369 Document #: 179 Filed: 07/22/20 Page 11 of 11 PageID #:4289




the point. Ubiquiti refuses to admit that data stored in its source code is the proprietary

compilations of data it asserts or otherwise identify that information.




Dated: July 22, 2020                                  Respectfully submitted,

FOX, SWIBEL, LEVIN & CARROLL, LLP                  BAKER BOTTS L.L.P.

/s/ Steven J. Reynolds                             /s/ Jon V. Swenson
David Koropp (ARDC #6201442)                       G. Hopkins Guy, III (CA Bar No. 124811)
dkoropp@foxswibel.com                              Jon V. Swenson (CA Bar No. 233054)
Erik J. Ives (ARDC #6289811)                       Karina Smith (CA Bar No. 286680)
eives@foxswibel.com                                1001 Page Mill Road
Steven J. Reynolds (ARDC #6293634)                 Building One, Suite 200
sreynolds@foxswibel.com                            Palo Alto, CA 94304-1007
Steven L. Vanderporten (ARDC # 6314184)            650.739.7500 (Telephone)
svanderporten@foxswibel.com                        650.739.7699 (Facsimile)
Fox Swibel Levin & Carroll LLP                     hop.guy@bakerbotts.com
200 W. Madison St., Suite 3000                     jon.swenson@bakerbotts.com
Chicago, IL 60606                                  karina.smith@bakerbotts.com


Attorneys for Plaintiff Ubiquiti Inc., f/k/a       Local Counsel:
Ubiquiti Networks, Inc.
                                                   James P. Fieweger (Bar ID No. 6206915)
                                                   Michael Best & Friedrich, LLP
                                                   444 W. Lake Street. Suite 3200
                                                   Chicago, IL 60606
                                                   312.222.0800 (Telephone)
                                                   jpfieweger@michaelbest.com

                                                   Arthur Gollwitzer, III (Bar ID No. 6225038)
                                                   Michael Best & Friedrich, LLP
                                                   2801 Via Fortuna, Suite 300
                                                   Austin, Texas 78746
                                                   512.640.3160 (Telephone)
                                                   agollwitzer@michaelbest.com

                                                   Attorneys for Defendants Cambium Networks,
                                                   Inc. et. al




                                                 11
